  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 1 of 15 PageID #:4306




               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 Charles Kendricks, on behalf of himself and
 Class Members,
                                               Case No. 13-cv-1068
                Plaintiff,
       v.
                                               Honorable Andrea R. Wood
 LaToya Hughes & Charles Truitt,
                 Defendants.


  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
   PRELIMINARY APPROVAL OF PROPOSED CLASS ACTION SETTLEMENT




Michael Kanovitz
Heather Lewis Donnell
Maria Makar
Loevy & Loevy
311 N. Aberdeen St., 3rd Fl.
Chicago, IL
mike@loevy.com
heather@loevy.com
makar@loevy.com
   Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 2 of 15 PageID #:4307




                                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES ........................................................................................................... i

INTRODUCTION ...........................................................................................................................1

     I.         FACTUAL SUMMARY AND PROCEDURAL HISTORY ........................................1

     II.        OVERVIEW OF THE PROPOSED SETTLEMENT AGREEMENT .........................5

                A. Class Definition .......................................................................................................5

                B. Relief to the Class ....................................................................................................5

                C. Notice .......................................................................................................................6

                D. Attorneys’ Fees and Costs .......................................................................................6

                E. Release of Liability ..................................................................................................6

     III.       THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL......7

                A. The Class Representatives and Class Counsel Have Adequately Represented the
                   Class .........................................................................................................................8

                B. The Proposal Was Fairly and Honestly Negotiated at Arm’s Length .....................9

                C. The Relief Provided for the Class Is Adequate ........................................................9

                D. The Proposed Settlement Treats Class Members
                   Equitably Relative to Each Other ..........................................................................10

                E. The Parties Believe the Settlement Is Fair and Reasonable ...................................10

     IV.        THE PROPOSED METHOD OF NOTICE SHOULD BE APPROVED ...................11

CONCLUSION ..............................................................................................................................11
   Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 3 of 15 PageID #:4308




                                               TABLE OF AUTHORITIES

Cases:

Armstrong v. Bd. of Sch. Dirs. of City of Milwaukee, 616 F.2d 305 (7th Cir. 1980) .......................7

Charvat v. Valente, No. 12-cv-05746, 2019 WL 5576932 (N.D. Ill. Oct. 28, 2019) ......................9

Gomez v. St. Vincent Hotel, Inc., 649 F.3d 583 (7th Cir. 2011) ......................................................8

Isby v. Bayh, 75 F.3d 1191 (7th Cir. 1996) ......................................................................................7

Lippert v. Ghosh, No. 10-cv-04603 (N.D. Ill. July 23, 2010)..........................................................4

Martin v. Reid, 818 F.3d 302 (7th Cir. 2016) ..................................................................................8

Mason v. M3 Fin. Servs., Inc., No. 15-cv-04194, 2018 WL 11193175
(N.D. Ill. June 29, 2018) ............................................................................................................9, 10

Phillips Petroleum Co. v. Shutts, 472 U.S. 797 (1985) .................................................................11

T.S. v. Twentieth Century Fox Television, 334 F.R.D. 518 (N.D. Ill. 2020) ..................................8

Van v. Ford Motor Co., 332 F.R.D. 249 (N.D. Ill. 2019) ................................................................8

Rules

FEDERAL RULE OF CIVIL PROCEDURE 23(a)(4) ..................................................................................8

FEDERAL RULE OF CIVIL PROCEDURE 23(c)(2)(B)...........................................................................11

FEDERAL RULE OF CIVIL PROCEDURE 23(e).......................................................................................7

FEDERAL RULE OF CIVIL PROCEDURE 23(e)(1) ................................................................................11

FEDERAL RULE OF CIVIL PROCEDURE 23(e)(2) ..............................................................................7, 8

FEDERAL RULE OF CIVIL PROCEDURE 23(e)(2)(D) ..........................................................................10

FEDERAL RULE OF CIVIL PROCEDURE 23(h) ......................................................................................6

FEDERAL RULE OF EVIDENCE 706 ....................................................................................................2




                                                                     i
  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 4 of 15 PageID #:4309




                                        INTRODUCTION

        More than a decade ago, then-Stateville resident Lester Dobbey, acting pro se, sought

injunctive relief on behalf of himself and all others living in the prison due to numerous conditions

that violated their Eighth Amendment rights.

        In August 2024, Defendants did not oppose a motion for a preliminary injunction to transfer

all but a small group of Class Members out of Stateville by September 30, 2024. The Class

Members who remain in Stateville are housed in the Healthcare Unit and were not subject to that

preliminary injunction. The proposed Settlement Agreement provides relief to these remaining

Class Members. IDOC has agreed that no Class Member will be housed in Stateville’s current

general housing units. As such, the proposed Settlement Agreement provides long-sought relief

that both Parties deem appropriate. It is deserving of this Court’s approval.

        The Court should approve the Settlement Agreement because it represents a fair and arm’s

length resolution of the claims, achieved through litigation and mediation, and it provides

substantial benefits to the Class Members. In accordance with necessary procedures, Plaintiff

requests that this Court enter an order that (1) preliminarily finds that the settlement is fair to the

Class; (2) provides for sending notice to the Class Members pursuant to the proposed Notice Plan;

and (3) sets a date for a fairness hearing and final approval of the Settlement Agreement, on or

after January 17, 2025.

   I.      FACTUAL SUMMARY AND PROCEDURAL HISTORY

        Stateville has been in disrepair and deterioration for decades. The State’s third-party vendor

that evaluated Stateville and all other IDOC facilities ranked Stateville as having the highest level

of deterioration in 2023, noting that there was almost $286 million in deferred maintenance

required at the facility at that time. Exhibit 1 (CGL Report) at 19 & fig.13.




                                                  1
  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 5 of 15 PageID #:4310




       When Mr. Dobbey sued in 2013, he sought injunctive relief on behalf of himself and

Stateville residents to remedy the facility’s unconstitutional conditions. Dkt. 1 at 43. Specifically,

Mr. Dobbey alleged Eighth Amendment violations as a result of dangerous and unsanitary

conditions at Stateville, including poor ventilation, unsanitary drinking water, mold, and pests. Id.

at 4-27. Mr. Dobbey amended his complaint multiple times. See, e.g., Dkt. 27 (First Amended

Complaint); Dkt. 34 (Second Amended Complaint); Dkt. 36 (Revised Second Amended

Complaint).

       On February 20, 2013, Mr. Dobbey moved pro se for class certification. Dkt. 7. Counsel

was appointed soon thereafter. See Dkt. 21. The Court certified the Class on January 23, 2014,

under Federal Rule of Civil Procedure 23(b)(2), to include “all individuals incarcerated at

Stateville Correctional Center any time since January 1, 2011, and all individuals who will be

housed at the Stateville Correctional Center in the future.” Dkt. 37 at 1-2; see also dkt. 99 (Class

Notice). Loevy & Loevy was substituted as Class Counsel on April 4, 2014. Dkt. 57.

       After the Court certified the Class, Plaintiffs engaged in years of litigation and mediation.

In 2018, the Court granted Plaintiffs’ motion for an appointed structural engineering expert. The

Court appointed expert Bruce Kaskel to evaluate Stateville, pursuant to Federal Rule of Evidence

706. Dkt. 173. The Honorable Robert M. Dow, Class Counsel, Defendants’ counsel, Stateville

personnel, and Mr. Kaskel toured Stateville and Mr. Kaskel prepared expert reports soon

thereafter. See Exhibit 2 (Kaskel Report). Mr. Kaskel identified numerous areas and buildings

requiring immediate repairs, such as the masonry, gymnasium roof, and showers in the quarter

house. Id. Following Mr. Kaskel’s evaluation, the Defendants retained Helen Torres & Associates

(“HTA”) to evaluate the masonry of the quarter houses in the fall and winter of 2021. The HTA

expert report was finalized in January 2022, and it identified several structures that required




                                                  2
  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 6 of 15 PageID #:4311




“immediate repairs.” See, e.g., Exhibit 3 (HTA Report) at 6-7 tbl.1. It is Plaintiff’s position that

IDOC did not address these “immediate action” items. See id. at 6-11 tbls.1-4. Finally, in October

2023, Defendants’ expert EXP U.S. Services, Inc. (“EXP”) performed an “emergency” evaluation

of the concrete lintels in the B, C, D, and E-Houses. Exhibit 4 (EXP Report) at 1. EXP also found

ongoing structural problems requiring immediate repairs, such as corroding steel reinforcements

and the lintels in E-House. Id. at 2.

       Throughout this time, the Parties engaged in regular settlement conferences. As a result of

those negotiations, certain conditions were remedied and/or ameliorated. Of particular note is then-

Governor Bruce Rauner’s 2016 closure of the panopticon, F House, which had featured

prominently among the conditions Class Members sought to remedy. Exhibit 5 (Gov. Rauner

Chicago Sun Times). Class Members also negotiated the right to have their individual cells sprayed

by the exterminator to address the persistent presence of vermin. In addition, new dishwashers

were purchased, and bottled water was distributed to Class Members on a regular basis for

drinking.

       As a result of settlement negotiations, IDOC also repaired the Quarter House showers,

windows, and roof; Health Care Unit roof and shower ceilings; X House showers, windows, and

pipe chase; Gym interior walls; Theater Building roof and ceiling tile; Personal Property roof; and

Grounds stairs. IDOC also installed bird-blocking metal in the kitchen and pipe insulation in the

school building. However, despite these attempts to remedy the conditions, certain conditions

persisted due to the age and deterioration of the facility—not least of which was the physical

condition of the Quarter House, where the majority of Class Members resided.

       Over the decade of this case, IDOC reclassified Stateville from a maximum facility to a

maximum/medium facility and began to increase the educational programs offered to Class




                                                 3
    Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 7 of 15 PageID #:4312




Members. IDOC also regularly reduced the population at Stateville, resulting in a decrease from

approximately 1,300 Class Members to just under 425 by the summer of 2024.

          On March 15, 2024, Governor J.B. Pritzker and IDOC announced plans to close and

rebuild Stateville. Exhibit 6 (Governor Pritzker Press Release Announcing Closing of Stateville

dated March 15, 2024). On April 26, 2024, IDOC submitted its recommendation to the

Commission on Governmental Forecasting and Accountability (“COGFA”) that acknowledged the

structural risks Class Members faced while living at Stateville. Exhibit 7 (IDOC Recommendation

to COGFA). Class Members continued to live in fear for their health and safety.

          On July 31, 2024, Class Members moved for a preliminary injunction. See dkt. 372, 373.

Specifically, Class Members requested that the Court enter an order directing IDOC to develop a

plan to transfer all Class Members from Stateville to another facility and/or release and effectuate

such plan by September 20, 2024. Dkt. 373 at 29. On August 9, 2024, the Class sought, and the

Court entered, an unopposed preliminary injunction order requiring IDOC to transfer all Class

Members (except those housed in the Stateville Healthcare Unit) by September 30, 2024. Dkt. 386

at 2. 1

          IDOC has complied with transfers pursuant to the Court’s preliminary injunction order.

The remaining Class Members are housed in Stateville’s Healthcare Unit and therefore were not

subject to the August 9, 2024 Order. See dkt. 386 at 2. Over the last three months, the Parties have

worked to memorialize a settlement and now submit it to the Court for preliminary approval. See

Exhibit 8 (Settlement Agreement).



1
         IDOC is currently under Court monitoring in the Lippert v. Ghosh, No. 10-cv-04603 (N.D. Ill.
July 23, 2010) for provision of medical care to all IDOC inmates. Accordingly, due to the obligations in
that case, IDOC requested additional time to account for the transfer of Class Members in the Stateville
Health Care Unit to other IDOC facilities to ensure the continuity of medical care for these Class
Members.


                                                    4
  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 8 of 15 PageID #:4313




    II.      OVERVIEW OF THE PROPOSED SETTLEMENT AGREEMENT

          Along with this motion, Plaintiff has attached the Settlement Agreement, Exhibit 8, and

attachments to that agreement identified as Exhibits 8A-8C. The Settlement Agreement is a private

settlement agreement as defined in the PLRA, and has a term of one year. A general summary of

the proposed Settlement Agreement is as follows:

             A. Class Definition

          The definition of the “Class” in the Agreement is unchanged from the class certified by the

Court in its certification order, dkt. 37:

          “The Class in this matter shall be defined as all individuals incarcerated in Stateville
          Correctional Center at any time since January 1, 2011, and all individuals who will
          be housed at the Stateville Correctional Center in the future.” This Class excludes
          all individuals incarcerated at the Northern Reception and Classification Center as
          well as other facilities operated by the Illinois Department of Corrections.

Pursuant to this Court’s Preliminary Injunction Order, dkt. 386, IDOC transferred all those housed

in Stateville to other IDOC facilities by September 30, 2024, with the exception of individuals

housed in Stateville’s Healthcare Unit. Id. at 2. Accordingly, there are approximately twenty

remaining Class Members.

             B. Relief to the Class

          Pursuant to the terms of the Settlement Agreement, IDOC has agreed that it will not

repopulate Stateville’s current general housing units while the settlement remains in effect. The

Department may continue to operate Stateville’s Health Care Unit and use that Health Care Unit

in its discretion to provide medical treatment to Class Members who currently remain housed in

the Health Care Unit, or other individuals in custody.

          IDOC has acknowledged that there were approximately $250 million in deferred repairs

that would need to be made to Stateville to be safe to reside in and has further determined that its

resources would be better spent on building a new facility rather than attempting to repair


                                                     5
  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 9 of 15 PageID #:4314




Stateville’s outdated facilities. Exhibit 7 (IDOC Recommendation to COGFA) at 2-3; Exhibit 9

(6/11/24 Transcript from the Commission on Governmental Accountability and Forecasting

(COGFA) Townhall Meeting) at 5:9-16:3. Accordingly, IDOC has already issued a request for

proposal to start the demolition and construction process.

           C. Notice

       The Parties have also agreed to a Notice Plan that the Parties support as the best practicable

plan to apprise Class Members of the Settlement Agreement and their right to object to the

Settlement Agreement. Using IDOC housing records, the Parties have identified the remaining

Class Members—those who are still living in Stateville following the expiration of this Court’s

preliminary injunction, see dkt. 386.

       The Notice Plan provides that personal notice will be given to each Class Member. Class

Members will have until 14 calendar days prior to the date of the Final Approval Hearing to file

objections to the Settlement Agreement. As discussed further in Section III, the Parties’ Notice

Plan satisfies the requirements of due process and Rule 23 by apprising Class Members of their

right to file objections to the Settlement Agreement. The Notice is attached to Exhibit 8 (Settlement

Agreement) at 14.

           D. Attorneys’ Fees and Costs

       The Settlement Agreement further provides that Class Counsel will receive $275,000.00 in

attorneys’ fees for more than ten years of representation. See dkt. 58. Consistent with Rule 23(h),

Class Counsel will file a separate motion for attorneys’ fee.

           E. Release of Liability

       In exchange for the relief described above, each Class Member will be deemed to have

released and forever discharged Defendants from any and all claims or causes of action for



                                                 6
  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 10 of 15 PageID #:4315




injunctive relief for violations of federal, state, or other law (whether in contract, tort, or otherwise,

including without limitation statutory, common law, property, and equitable claims) that have been

brought against the Released Parties in this Lawsuit. Class Members do not release any claims for

monetary damages that they may have and/or may pursue that may relate to any injury or damages

that may have been allegedly caused by conditions at issue in this Lawsuit.

    III.      THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL

           Federal courts favor “the settlement of class action litigation.” Isby v. Bayh, 75 F.3d 1191,

1196 (7th Cir. 1996). The Court should approve the proposed Settlement Agreement because it

provides substantial relief to Class Members—namely by remedying all the conditions that were

alleged to violate Class Members’ constitutional rights, including the safety of the water, exposure

to excessive temperatures, vermin, mold and structural safety at Stateville, by providing that they

will not be housed in Stateville’s general housing unit for the duration of the agreement.

           Rule 23(e) requires judicial approval of a proposed class action settlement based on the

Court’s finding that the agreement is “fair, reasonable, and adequate.” FED. R. CIV. P. 23(e)(2); see

also Armstrong v. Bd. of Sch. Dirs. of City of Milwaukee, 616 F.2d 305, 313 (7th Cir. 1980). This

settlement meets Rule 23(e)’s criteria due to the time, expense, and impracticality of trying

individual transfer requests for each Class Member. Rule 23(e) further requires that the court

considers whether (1) the class representatives and class counsel have adequately represented the

class; (2) the proposal was negotiated at arm’s length; (3) the relief provided for the class is

adequate; and (4) the proposed settlement treats class members equitably relative to each other. As

discussed below, these additional factors are met here.

           The Seventh Circuit has instructed that district court review under Rule 23(e) is a “two-

step process.” Armstrong, 616 F.2d at 314. The first step consists of a “preliminary, pre-




                                                    7
 Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 11 of 15 PageID #:4316




notification hearing to determine whether the proposed settlement is within the range of possible

approval.” Id. (internal quotation marks omitted). The second step is the fairness hearing. Id.; see

also FED. R. CIV. P. 23(e)(2). Before its final approval of the Settlement Agreement, the Court will

evaluate the following factors:

       (1) the strength of the class’s case, (2) the complexity and expense of further
       litigation, (3) the amount of opposition, (4) the reaction of class members to
       the settlement, (5) the opinion of competent counsel, and (6) the stage of the
       proceedings and the amount of discovery that was completed.

Martin v. Reid, 818 F.3d 302, 306 (7th Cir. 2016). For the reasons explained below, each factor

also supports the Court’s preliminary approval of the proposed Settlement Agreement.

           A. The Class Representatives and Class Counsel Have Adequately Represented
              the Class

       Here, the Class Representative and Class Counsel have adequately represented the Class.

See FED. R. CIV. P. 23(a)(4). The adequacy inquiry consists of two components: “(1) the adequacy

of the named plaintiffs as representatives of the proposed class’s myriad members, with their

differing and separate interests, and (2) the adequacy of the proposed class counsel.” Gomez v. St.

Vincent Hotel, Inc., 649 F.3d 583, 592 (7th Cir. 2011).

       Both criteria are met in this case. The named Plaintiff, Charles Kendricks, see dkt. 422,

represents the members of the Settlement Class. In seeking the transfer of individuals out of

Stateville and guarantees that individuals will not be housed in the general housing units, the Class

Representative has had the interests of the Class Members in mind at every stage of litigation. See

T.S. v. Twentieth Century Fox Television, 334 F.R.D. 518, 534 (N.D. Ill. 2020) (explaining that

the “claims and interests of the named Plaintiffs must not conflict with those of the class, [and] the

class representatives must have sufficient interest in the case” (quoting Van v. Ford Motor Co.,

332 F.R.D. 249, 282 (N.D. Ill. 2019)). Nor are there any conflicts of interest between the Class

Representative and Class Members.


                                                  8
 Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 12 of 15 PageID #:4317




       Additionally, counsel has adequately represented Class Members. First, there is no conflict

of interest between Class Counsel and Class Members; all of the alleged unconstitutional

conditions have been addressed by both the transfer of most (former) Class Members out of

Stateville and the agreement that IDOC will not repopulate Stateville’s current general housing

units. Second, Class Counsel engaged in extensive investigation and interviews of Class Members

throughout litigation to fully understand the strengths and weaknesses of the claims. This included

retaining Bruce Kaskel to evaluate the Stateville facility in 2018, see Exhibit 2 (Kaskel Report),

and remaining in close communication with Class Members. Third, Class Counsel intensively

litigated and sought to mediate Class Members’ claims for more than a decade, seeking evidence

of conditions in Stateville, IDOC’s action (or lack thereof) in response, and most recently securing

a preliminary injunction to transfer or release almost all Class Members. See dkt. 373, 386.

           B. The Proposal Was Fairly and Honestly Negotiated at Arm’s Length

       The Parties fairly and honestly negotiated the Settlement Agreement at arm’s length. As

this Court has observed, the Parties have engaged in “a lengthy period” of “adversarial and

contentious” litigation and mediation. Charvat v. Valente, No. 12-cv-05746, 2019 WL 5576932,

at *5 (N.D. Ill. Oct. 28, 2019). For several years, the Parties engaged in regular settlement

conferences in attempt to resolve this matter. And both Parties were represented by “experienced

attorneys familiar with the legal and factual issues of this case.” Mason v. M3 Fin. Servs., Inc.,

No. 15-cv-04194, 2018 WL 11193175, at *1 (N.D. Ill. June 29, 2018); see also, e.g., dkt. 373 at 3

(noting that counsel for both Parties toured Stateville with Honorable Robert M. Dow).

           C. The Relief Provided for the Class Is Adequate

       The Settlement Agreement also provides substantial relief to Class Members. Stateville has

long been in disrepair, and as a result, Class Members have had to live in extremely dangerous




                                                 9
 Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 13 of 15 PageID #:4318




conditions for many years. Since Lester Dobbey first filed his complaint in 2013, see dkt. 1, Class

Members have, among other things, seen concrete fall from the ceiling, and felt water pour into

their living quarters long after outdoor storms abated. The State has already announced plans to

rebuild Stateville and, in compliance with this Court’s preliminary injunction order, completed the

transfer or release of approximately 400 former Class Members. See dkt. 386.

           D. The Proposed Settlement Treats Class Members Equitably Relative to Each
              Other

       The Settlement provides the same relief for all current Class Members by providing that

they will not be placed in Stateville’s general housing units while the settlement remains in effect.

As such, the agreement treats Class Members “equitably relative to each other,” FED. R. CIV. P.

23(e)(2)(D), to ensure their physical health and safety.

           E. The Parties Believe the Settlement Is Fair and Reasonable

       The parties believe that the Settlement is fair and reasonable, for the reasons described

above. IDOC has approved the Settlement Agreement. And Class Counsel has long advocated for

Class Members to be transferred out of Stateville’s general housing units to protect immediate, as

well as long-term, threats to their health and safety.

       If the parties were to continue to litigate this action through individual claims, each side

would expend considerable time and money to prosecute and defend their positions. E.g., Mason,

2018 WL 11193175, at *1 (“The Settlement as set forth . . . is fair, reasonable, adequate and in the

best interests of the Class Members in light of the complexity, expense, and duration of

litigation . . . .”). By contrast, the proposed Settlement Agreement provides relief now to all Class

Members. In addition to the efficiency of settling the Class Members’ claims, providing relief as

soon as practicable is critical to ensuring Class Members’ safety. See, e.g., Exhibit 3 (HTA Report)

at 5-12 (identifying numerous structural issues as requiring “immediate action”); Exhibit 4 (EXP



                                                 10
  Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 14 of 15 PageID #:4319




Report) at 2 (identifying a risk of falling concrete debris in the cellhouse that requires immediate

action). Swiftly settling these claims also helps the State focus on rebuilding Stateville.

   IV.      THE PROPOSED METHOD OF NOTICE SHOULD BE APPROVED

         When a certified class action is settled, the Due Process Clause and Rule 23 require the

court to “direct notice in a reasonable manner to all class members who would be bound” by the

proposed settlement. FED. R. CIV. P. 23(e)(1). The notice must contain specific information in

plain, easy-to-understand language, including the nature of the action and the rights of class

members. Id. r. 23(c)(2)(B).

         The Parties have agreed to a comprehensive Notice Plan to conform with due process and

Rule 23 requirements. Notice will be served personally upon the Class Members who remain in

Stateville by directly providing a copy of the Notice to Class Members at their housing unit. The

Parties agree that the Notice Plan is the best practicable plan: It is “reasonably calculated under

the circumstances to apprise interested parties of the pendency of the action” so that they could

object or obtain more information about the action or present their claims. See Phillips Petroleum

Co. v. Shutts, 472 U.S. 797, 812 (1985).

         Because the proposed Notice Plan effectuates direct notice to all Class Members and fully

apprises them of their rights, it comports with the requirements of the Due Process Clause and

Rule 23. As such, this Court should approve the proposed Notice Plan.

                                           CONCLUSION

         For the foregoing reasons, Plaintiff respectfully requests that the Court enter an order enter

an order that (1) preliminarily finds that the settlement is fair to the Class; (2) provides for sending

notice to the Class Members pursuant to the proposed Notice Plan; and (3) sets a date for a fairness

hearing and final approval of the Settlement Agreement, on or after January 17, 2025.




                                                  11
 Case: 1:13-cv-01068 Document #: 440 Filed: 01/17/25 Page 15 of 15 PageID #:4320




                                            Respectfully submitted,

                                            /s/ Heather Lewis Donnell
                                            One of Plaintiffs’ Attorneys

Michael Kanovitz
Heather Lewis Donnell
Maria Makar
Loevy & Loevy
311 N. Aberdeen St., 3rd Fl.
Chicago, IL
mike@loevy.com
heather@loevy.com
makar@loevy.com




                                       12
